   Case: 1:20-cv-00189 Document #: 56 Filed: 08/07/20 Page 1 of 2 PageID #:1738




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

LEVI STRAUSS & CO.,
                                                      Case No. 20-cv-00189
                       Plaintiff,
       v.                                             Judge Robert W. Gettleman

LEXREV STORE, et al.,                                 Magistrate Judge M. David Weisman

                      Defendants.


                              SATISFACTION OF JUDGMENT

       WHEREAS, a judgment was entered in the above action on March 10, 2020 [46], in

favor of Plaintiff Levi Strauss & Co. (“LS&Co.”) and against the Defendants Identified in

Schedule A in the amount of five hundred thousand dollars ($500,000) per Defaulting Defendant

for willful use of counterfeit LEVI’S Trademarks in connection with the offer for sale and/or sale

of products through at least the Defendant Internet Stores, and LS&Co. acknowledges payment

of an agreed upon damages amount, costs, and interest and desires to release this judgment and

hereby fully and completely satisfy the same as to the following Defendants:

              Defendant Name                                         Line No.
             Shop1905899 Store                                          27
                 huzhe311                                               54

       THEREFORE, full and complete satisfaction of said judgment as to the above-referenced

Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.




                                                1
   Case: 1:20-cv-00189 Document #: 56 Filed: 08/07/20 Page 2 of 2 PageID #:1739




Dated this 7th day of August 2020.   Respectfully submitted,


                                     /s/Jake M. Christensen
                                     Amy C. Ziegler
                                     Justin R. Gaudio
                                     Jake M. Christensen
                                     Greer, Burns & Crain, Ltd.
                                     300 South Wacker Drive, Suite 2500
                                     Chicago, Illinois 60606
                                     312.360.0080
                                     312.360.9315 (facsimile)
                                     aziegler@gbc.law
                                     jgaudio@gbc.law
                                     jchristensen@gbc.law

                                     Counsel for Plaintiff Levi Strauss & Co.




                                        2
